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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
            v.                      :                CRIMINAL NO. 1-21-cr-233-(EGS)
                                    :
WILLIAM NORWOOD                     :
                                    :
____________________________________:



   DEFENDANT’S CONSENT MOTION TO MODIFY CONDITIONS OF RELEASE

   William Norwood, by and through undersigned counsel respectfully requests that the Court

modify the conditions of release in this matter, specifically to allow the Mr Norwood to leave his

home to attend a musical event as described below. In support of this Motion, Mr Norwood states

the following:


   1. On 20 April, 2021, the Court granted Mr Norwood’s bond motion and released him on

home confinement at his residence with GPS monitoring. A condition of release was a prohibition

on the use of internet/social media. Mr Norwood is being supervised by U.S. probation in the

District of South Carolina. Counsel has consulted with Mr Norwood’s supervision officer, Mr

Cornelius Sterling. Mr Sterling informs to date, Mr Norwood has fully complied with obligations.

   2. Mr Norwood requests permission to leave his home for on the evening of 7 October, 2021

to attend a musical event. On the evening, a musician by the name of David Phelps is coming to

play at Mr Norwood’s church in Spartanburg. This is the same church Mr Norwood attends on

Sundays. Mr Norwood is something of a musician himself, and several years performed as an

opening act for Mr Phelps. In addition to being an acquaintance, Mr Norwood, being a practicing

Christian believes the event will be an enlightening spiritual event in the further practice of his
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                 religion. Counsel has shared this information with Mr Sterling and the pretrial services officer in

                 DC, Ms daShanta Valentine-Lewis. Both Mr Sterling and Ms Valentine-Lewis will defer to the

                 Court on approval. The event is scheduled to start at 6pm. Mr Norwood believes allowing him and

                 11pm return deadline will be adequate and reasonable.

                    3. Counsel has conferred with the assigned AUSA, Ms Hava Mirell. Ms Mirell does not

                 oppose.


                    WHEREFORE, William Norwood respectfully requests that he be permitted to leave his

                 home on 7 October 2021 from 6pm to 11pm for the purposes of attending the above-described

                 concert.



                                                              Respectfully Submitted,

                                                              /s/ Peter A. Cooper
                                                              Peter A. Cooper, (#478-082)
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                                                              Washington DC 20001
                                                              pcooper@petercooperlaw.com
                                                              Counsel for William Norwood




                                                 CERTIFICATE OF SERVICE

                        I HEREBY CERTIFY that a copy of the foregoing Motion to Modify Conditions of
                 Release is being filed via the Electronic Court Filing System (ECF), causing a copy to be served
                 upon government counsel of record, this 30th day of September, 2021.
PeterCooperLaw




                                                              /s/ Peter A. Cooper
                                                              Peter A. Cooper


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